Mail - CASDdb_interdistricttransfer_casd - Outlook                   https://outlook.office365.com/mail/interdistricttransfer_casd@casd.uscou...
               Case 3:15-cv-01644-MMA-MDD Document 23 Filed 03/16/21 PageID.109 Page 1 of 1

                Reply all              Delete         Junk   Block


            Transferred case has been opened

                     cmecf_flmd_notification@flmd.uscourts.gov
              C      Tue 3/16/2021 4:27 PM
                     To: CASDdb_interdistricttransfer_casd




                     CASE: 3:15-cv-01644

                     DETAILS: Case transferred from California Southern
                     has been opened in Middle District of Florida
                     as case 8:21-cv-00598, filed 03/16/2021.



                     Reply       Forward




1 of 1                                                                                                                    3/16/2021, 10:31 AM
